                Case 17-10427               Doc        Filed 05/09/22          Entered 05/09/22 20:10:01           Desc Main
 Fill in this information to identify the case:
                                                           Document            Page 1 of 3
 Debtor 1
                       Ernie S. Belencion

 Debtor 2
 (Spouse, if filing)   Romelean A Belencion

 United States Bankruptcy Court for the: Northern     District of            Illinois
                                                                             (State)
 Case number           17-10427




Form 4100R
Response to Notice of Final Cure Payment                                                                                           10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


 Part 1:       Mortgage Information
                                                                                                     Court claim no. (if known):
 Name of Creditor:          NewRez LLC d/b/a Shellpoint Mortgage Servicing                           8

 Last 4 digits of any number you use to identify the debtor’s account: XXXXXX5522

 Property address:                          204 Seneca Trail
                                            Number       Street

                                            Bloomingdale, IL 60108-2427
                                            City              State         ZIP Code

 Part 2:       Pre-petition Default Payments
 Check one:
  Creditor agrees that the debtor(s) have paid in full the amount required to cure the pre-petition default
   on the creditor’s claim
  Creditor disagrees that the debtor(s) have paid in full the amount required to cure the pre-petition
   default on the creditor’s claim. Creditor asserts that the total pre-petition amount remaining unpaid
                                                                                                                                   $________
   as of the date of this response is:

 Part 3:       Post-petition Mortgage Payment
 Check one:
   Creditor states that the debtor(s) are current with all post-petition payments consistent with § 1322(b)(5)
  of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     The next post-petition payment from the debtor(s) is due on:                  05/01/2022
                                                                                  MM/DD/YYYY

  Creditor states that the debtor(s) are not current on all post-petition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     Creditor asserts that the total amount remaining unpaid as of the date of this response is:
     a. Total post-petition payments due:                                                                          (a)   $            0.00
     b.     Total fees, charges, expenses, escrow, and costs outstanding                                         +(b) $               0.00
     c.     Total. Add lines a and b                                                                               (c)   $           _0.00
     Creditor asserts that the debtor(s) are contractually
     Obligated for the post-petition payment(s) that first became
     Due on:
                                                                                        MM/DD/YYYY




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              Case 17-10427                Doc           Filed 05/09/22           Entered 05/09/22 20:10:01                           Desc Main
                                                             Document             Page 2 of 3
   Debtor 1           Ernie S. Belencion                                                                       Case number 17-10427
                      First Name Middle Name         Last Name


Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the pre-petition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all post-petition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:
     all payments received;
     all fees, costs, escrow, and expenses assessed to the mortgage; and
     all amounts the creditor contends remain unpaid.




Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.

Check the appropriate box:
 I am the creditor
 I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.



                      /s/Dana O'Brien                                                                       Date    05/09/2022
                      Signature


Print                 Dana O'Brien                                                                          Title   Attorney for the Creditor
                      First Name           Middle Name           Last Name



Company               McCalla Raymer Leibert Pierce, LLC


If different from the notice address listed on the proof of claim to which this response applies:




Address               1 N. Dearborn Suite 1200
                      Number               Street



                      Chicago, IL 60602
                      City               State             Zip Code


   Contact phone      (312) 346-9088 X5188                                                          Email      Dana.OBrien@mccalla.com




Form 4100R                                          Response to Notice of Final Cure Payment                                                      Page | 2
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                                                               Bankruptcy Case No.:   17-10427
In Re:   Ernie S. Belencion                                    Chapter:               13
         Romelean A Belencion                                  Honorable Judge:       Janet S. Baer

                                          CERTIFICATE OF SERVICE

   I, Dana O'Brien, of McCalla Raymer Leibert Pierce, LLC, 1 N. Dearborn Suite 1200, Chicago, IL 60602,
   certify:

   That I am, and at all times hereinafter mentioned, was more than 18 years of age;

   That on the date below, I caused to be served a copy of the within Response to Notice of Final Cure
   Payment filed in this bankruptcy matter on the following parties at the addresses shown, by regular United
   States Mail, with proper postage affixed, unless another manner of service is expressly indicated:

Ernie S. Belencion
204 Seneca Trail
Bloomingdale, IL 60108

Romelean A Belencion
204 Seneca Trail
Bloomingdale, IL 60108

Mohammed O Badwan                               (served via ECF Notification)
Sulaiman Law Group, Ltd
2500 S. Highland Ave
Suite 200
Lombard, IL 60148

Glenn B Stearns, Trustee                        (served via ECF Notification)
801 Warrenville Road, Suite 650
Lisle, IL 60532

    I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Executed on:    05/09/2022         By:      /s/Dana O'Brien
                    (date)                  Dana O'Brien, Illinois BAR NO. 6256415
                                            Attorney for the Creditor




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